UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
NEW ALBANY DIVISION

IN RE:
Case No: 10-93904-BHL-11

EASTERN LIVESTOCK CoO., LLC,

Debtor.

MOTION TO WITHDRAW REPRESENTATION

The undersigned counsel respectfully request permission to withdraw their representation of
Intrust Bank, NA in this bankruptcy proceeding, and in support of this motion, state as follows:

1. The undersigned counsel represent Intrust Bank, NA ("Intrust") in this bankruptcy
proceeding.

2. However, Intrust has now requested that the undersigned counsel withdraw their
appearance on Intrust's behalf. A copy of the correspondence requesting such withdrawal is
attached hereto and incorporated herein by reference as Exhibit "A".

3. Accordingly, pursuant Bankruptcy Rule B-9010-1(c), the undersigned counsel
respectfully request that the Court grant them leave to withdraw their appearance on behalf of
Intrust, in this bankruptcy proceeding effective May 19, 2011, and for all other just and proper

relief.

Respectfully submitted,

HOPPER BLACKWELL, P.C. a

BY:  {s/ Pefrey E. Rarnsey pele

JEFFREY E. RAMSEY

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was served upon the following by electronic
mail or First Class United States Mail, postage prepaid this 18" day of May, 2011.

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/s/ Seffres. é. Kamseg

JEFFREY E. RAMSEY

Jeffrey E. Ramsey

From: Voth, Kent G [Kent. Voth@INTRUSTBANK.COM]
Sent: Tuesday, May 17, 2011 12:06 PM

To: Jeffrey E. Ramsey

Ce: Sarah S. Fanzini; Eilert, Daniel J

Subject: Gibson - Eastern

In any event, we regret to be forced to inform you that you and your firm are hereby disengaged from
representing INTRUST Bank, N.A., and you are hereby asked to withdraw as counsel for the Bank in the

subject cases. —Kent

Kent G. Voth
Associate General Counsel
INTRUST Financial Corporation

INTRUST Bank, N.A.

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that this communication was addressed or sent to you in error, you may not use or copy this communication and
you may not disclose this information to anyone else. If this is the case, please notify me immediately by reply e-
mail or by telephone. Thank you.
